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 1                                                                                Hon. Ricardo Martinez
 2

 3
                                       UNITED STATES DISTRICT COURT
 4
                                      WESTERN DISTRICT OF WASHINGTON
 5
                                                  AT SEATTLE
 6
     THE UNITED STATES OF AMERICA,                       No. CR05-417 RSM
 7
               Plaintiff,                                ORDER GRANTING DEFENDANT JOHN J.
 8
                                                         CUNNINGHAM’S MOTION TO
 9             v.                                        CONTINUE SENTENCING HEARING

10   JOHN J. CUNNINGHAM,

11             Defendant.
12

13             DEFENDANT JOHN J. CUNNINGHAM’s motion to continue his sentencing hearing

14   came on regularly for hearing, and, the court being fully advised,

15
               IT IS HEREBY ORDERED that Mr. Cunningham’s sentencing hearing is continued to

16   Friday, September 29, 2006.

17             ORDERED this 6th day of July, 2006.



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                                                     RICARDO S. MARTINEZ
20                                                   UNITED STATES DISTRICT JUDGE

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     Submitted by:
22   LAW OFFICES OF STEPHAN R. ILLA

23

24

25   Stephan R. Illa
     WSBA No. 15793

26   Attorney for Defendant John J. Cunningham

     ORDER GRANTING DEFENDANT JOHN J.                                 LAW OFFICES OF STEPHAN R. ILLA, INC. P.S.
     CUNNINGHAM’S MOTION TO CONTINUE                                              600 FIRST AVENUE, SUITE 433
     SENTENCING HEARING - 1                                                               SEATTLE, WA 98104
                                                                                               (206) 464-4142
